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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON
                                       EUGENE DIVISION
GARRY PITTS,                                            )
                                                        )    No. 6:18-cv-1679
                         Plaintiff,                     )
                                                        )    COMPLAINT
               v.                                       )
                                                        )    (FLSA action with supplemental
J. GILMOUR FARM LLC., Oregon limited                    )    Oregon wage action)
liability company,                                      )
                                                        )    Jury trial demanded
                         Defendant.                     )
                                      JURISDICTION AND VENUE
       1.      This is an Fair Labor Standards Act civil action for back wages and
liquidated damages, attorney fees and costs, 29 U.S.C. §§ 206 and 207.
       2.      It includes a supplemental Oregon claim for back wages, penalties and,
attorney fees and costs under Ore. Rev. Stats. §§ 652.140 and 652.150.
       3.      Plaintiff Garry (“Pitts”) at times material to this complaint resided in Linn
County, Oregon.
       4.      Defendant J. Gilmour Farm LLC (“Gilmour Farm”) is an Oregon limited
liability company owned and operated by Johnny Gilmore headquartered at 30396
Walnut Dr. SW in Albany in Linn County.
       5.      Jurisdiction for federal claims is provided by 28 U.S.C. § 1331.

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        6.    Jurisdiction over supplemental state claims is provided by 28 U.S.C.
§1367.
        7.    Venue is appropriate in the Eugene Division of United States District
Court for the District of Oregon under 28 U.S.C. § 1391(b) and LR 3-2.
                                         FIRST CLAIM
                                   (FLSA W AGE CLAIM)
        8.    Defendants reallege paragraphs 3 and 4.
        9.    Defendant J. Gilmour Farm LLC (“Gilmour Farm”) farms grass hay and
seed.
        10.   In addition its farming operation, Gilmour Farm purchases hay and straw
from other farmers and commercial vendors.
        11.   Gilmour Farm uses farmed and purchased hay and straw for sale in the
Far East, including Japan and Korea, by compressing and sometimes adding minerals
and other animal feed additives during the compaction process, creating a value-
added secondary by-product.
        12.   The overwhelming majority of hay and straw in the secondary by-product
is not farmed by Gilmour Farm but purchased from other farmers and commercial
vendors.
        13.   Gilmour Farm employed Pitts from on or about September 19, 2016 to
January 8, 2018.
        14.   Pitts’ job duties included, compressing and sometimes adding minerals
and other animal feed additives during the compaction process, creating the value-
added secondary by-product.
        15.   Gilmour Farms employed Pitts an hourly wage of $15 until January 26,
2016, when the hourly rate went to $18.
        16.   Gilmour Farms paid Pitts only straight time for about 1,450 hours worked
in excess of 40 hours in a week, shorting Pitts $10,348.15.
        17.   Gilmour Farms’ actions described in this claim violated 29 U.S.C. §§ 206
and 207.

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       18.     Pitts mentioned the violation to John Gilmour before filing this lawsuit;
Gilmour responded bring it on, “this isn’t my first rodeo” making the violation willful
under 29 U.S.C. § 216, entitling him to $10,348.15 liquidated damages.
       19.     Pitts incurred attorney fees and costs and is entitled to award by the
court of reasonable attorney fee and costs under 28 U.S.C. §§1920 and 1923 and 29
U.S.C. § 216.
                                        SECOND CLAIM
                                  (OREGON W AGE CLAIM)
       20.     Reallege paragraphs 8-16.
       21.     Gilmour Farms paid Pitts only straight time for about 1,450 hours worked
in excess of 40 hours in a week, shorting Pitts $10,348.15.
       22.     Gilmour Farms’ actions described in this claim violated Ore. Rev. Stats.
§ 652.140.
       23.     Gilmour Farms is entitled to $10,348.15 penalty wages under Ore. Rev.
Stats. § 652.150.
       24.     Gilmour incurred attorney fees and court costs and is entitled to award
by the court of reasonable attorney fees and costs under Ore. Rev. Stats. §§ 652.150
and 652.200.
                                             PRAYER
       Wherefore, Pitts prays for judgment for him and against Gilmour Farms as
follows:
       1. First Claim: $10,348.15 back wages, $10,348.15 liquidated damages plus
reasonable attorney fees and costs determined by the court.
       2. Second Claim: $10,348.15 back wages, $10,348.15 penalty wages plus
reasonable attorney fees and costs determined by the court.


August 22, 2018                        Paul B. Meadowbrook
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